            Case 3:20-cv-06469-EMC Document 141 Filed 03/17/22 Page 1 of 4



 1   FOLIO LAW GROUP PLLC                           ALSTON & BIRD LLP
     Cristofer I. Leffler (SBN 208129)              Michael J. Newton (SBN 156225)
 2   cris.leffler@foliolaw.com                      mike.newton@alston.com
 3   1200 Westlake Ave. N., Suite 809               1950 University Avenue, Suite 430
     Seattle, WA 98109                              Palo Alto, CA 94303
 4   Tel: (206) 880-1802                            Tel: (650) 838-2121
                                                    Fax: (650) 838-2001
 5   Attorney for Plaintiff Dali Wireless Inc.
                                                    Attorney for Defendant Corning Optical
 6   (Additional Counsel for Plaintiff              Communications LLC
 7   listed below signature line)
                                                    (Additional Counsel for Defendant
 8                                                  listed below signature line)

 9
                                    UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11

12
     DALI WIRELESS, INC.,                          Case No: 3:20-cv-06469-EMC
13                    Plaintiff,
          v.                                       JOINT NOTICE OF MOTION AND
14                                                 MOTION TO FURTHER EXTEND
     CORNING OPTICAL COMMUNICATIONS                DEADLINE TO MOVE TO COMPEL
15   LLC,                                          RESPONSES TO FACT DISCOVERY
16                  Defendant.

17

18

19

20

21

22

23

24

25

26

27

28
                                                                         Case No 3:20-cv-06469-EMC.
             Case 3:20-cv-06469-EMC Document 141 Filed 03/17/22 Page 2 of 4



 1   I.     NOTICE OF MOTION AND MOTION FOR CASE MANAGEMENT SCHEDULE
 2          Plaintiff Dali Wireless, Inc. (“Dali”) and Defendant Corning Optical Communications, LLC
 3   (“Corning”) hereby jointly move under Civil L.R. 7-11 for and Civil L.R. 16-2(d) for a brief extension
 4   of the deadline to move to compel fact discovery as follows. The parties acknowledge that they have
 5   read and understand the Court’s Civil Standing Order on Discovery, in particular the procedure laid out
 6   in Section 4 thereof. The parties are not presently aware of any need to file a motion to compel, but to
 7   avoid prejudice arising from the need to schedule certain depositions after the close of fact discovery,
 8   the parties respectfully request a brief extension on the deadline to file a motion to compel without
 9   otherwise moving the close of fact discovery.
10          Fact discovery closed on November 22, 2021. See ECF No. 108. Under Civil L.R. 37-3, where—
11   as here—“the Court has set separate deadlines for fact and expert discovery, no motions to compel fact
12   discovery may be filed more than 7 days after the fact discovery cut-off, and no motions to compel expert
13   discovery may be filed more than 7 days after the expert discovery cut-off.” The Court previously moved
14   the deadline to file motions to compel fact discovery to December 21, 2021; January 21, 2022; February
15   21, 2022; and March 18, 2022. See ECF Nos. 118, 120, 122, and 126.
16          The parties respectfully request that the Court allow the parties until April 22, 2022, to file a
17   motion to compel fact discovery, if such motion proves to be necessary, only arising from or relating to
18   the pending depositions and discovery issues that are the subject of currently pending meet and confer
19   between the parties. The following are the only pending depositions of Corning employees: Gajen
20   Mahendran, Syed N. Ahmad. 1 Mr. Mahendran is scheduled to be deposed on April 8, 2022, and Mr.
21   Ahmad is scheduled to be deposed on April 14, 2022. Good cause exists for the parties’ request because,
22   to accommodate the availability of various fact witnesses and to allow Corning time to fully comply with
23   its document production obligations, the parties have mutually agreed to schedule fact depositions after
24   the close of fact discovery, and at least two depositions remain to be taken. Because the two remaining
25   Corning witnesses who have yet to have their depositions taken are Rule 30(b)(6) witnesses, and to
26   1
      In addition, Dali has served third party subpoenas on Verizon and AT&T, and has met and conferred
27   with Corning regarding the potential need to depose Verizon and AT&T corporate witnesses to the extent
     Mr. Mahendran’s and Mr. Ahmad’s deposition testimony fails to resolve certain inconsistencies that Dali
28   believes exist in the present record.


                                                        1                          Case No. 3:20-cv-06469-EMC
             Case 3:20-cv-06469-EMC Document 141 Filed 03/17/22 Page 3 of 4



 1   preserve the parties’ ability to seek documents identified in connection with forthcoming depositions,
 2   the parties jointly submit this request for a brief extension on the deadline to file a motion to compel
 3   without otherwise moving the close of fact discovery.
 4   II.    CONCLUSION
 5          The parties respectfully request that the Court enter an order extending the deadline to move to
 6   compel fact discovery to April 22, 2022, only arising from or relating to the pending depositions and
 7   discovery issues that are the subject of currently pending meet and confer between the parties.
 8

 9   Dated: March 17, 2022
10
      By: s/Stefan Szpajda                                     By: s/Caleb Bean
11    FOLIO LAW GROUP PLLC                                     ALSTON & BIRD LLP
12    CRISTOFER I. LEFFLER (SBN 208129)                        MICHAEL J. NEWTON (SBN 156225)
      cris.leffler@foliolaw.com                                mike.newton@alston.com
13    DAVID D. SCHUMANN (SBN 223936)                           KATHERINE RUBSCHLAGER (SBN
      david.schumann@foliolaw.com                              328100)
14                                                             katherine.rubschlager@alston.com
      MICHAEL C. SAUNDERS (SBN 270414)
                                                               950 Page Mill Road
15    mike.saunders@foliolaw.com
                                                               Palo Alto, CA 94304
      CLIFF WIN, JR. (SBN 270517)                              Tel: (650) 838-2000
16    cliff.win@foliolaw.com                                   Fax: (650) 838-2001
17    PALANI P. RATHINASAMY (SBN 269852)
      palani@foliolaw.com                                      YURI MIKULKA (SBN 185926)
18    STEFAN SZPAJDA (SBN 282322)                              yuri.mikulka@alston.com
      stefan@foliolaw.com                                      CALEB BEAN (SBN 299751)
19    STEVEN SKELLEY (Pro Hac Vice)                            caleb.bean@alston.com
20    steve.skelley@foliolaw.com                               333 South Hope Street, 16th Floor
      1200 Westlake Ave. N., Suite 809                         Los Angeles, CA 90071
21    Seattle, WA 98109                                        Tel: (213) 576-1000
      Tel: (206) 880-1802                                      Fax: (213) 576-1100
22
      JOSEPH M. ABRAHAM (pro hac vice)                         ROSS R. BARTON (Pro Hac Vice)
23                                                             ross.barton@alston.com
      joseph.abraham@foliolaw.com
24    13492 Research Blvd., Ste. 120, No. 177                  ALSTON & BIRD LLP
      Austin, TX 78750                                         Bank of America Plaza
25    Tel: (737) 234-0201                                      101 South Tryon Street, Suite 4000
                                                               Charlotte, NC 28280-4000
26                                                             Telephone: (704) 444-1000
      BARTKO ZANKEL BUNZEL & MILLER
                                                               Fax: (704) 444-1111
27
      BRIAN A. E. SMITH (SBN 188147)
28    bsmith@bzbm.com


                                                        2                          Case No. 3:20-cv-06469-EMC
            Case 3:20-cv-06469-EMC Document 141 Filed 03/17/22 Page 4 of 4



 1   ALDEN K. LEE (SBN 257973)                         Attorneys for Defendant Corning
     alee@bzbm.com                                     Optical Communications LLC
 2   JOSEPH J. FRARESSO (SBN 289228)
 3   jfraresso@bzbm.com
     A Professional Law Corporation
 4   One Embarcadero Center, Suite 800
     San Francisco, California 94111
 5   Tel: (415) 956-1900
     Fax: (415) 956-1152
 6

 7
     Attorneys for Plaintiff Dali Wireless, Inc.
 8

 9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28


                                                   3                     Case No. 3:20-cv-06469-EMC
